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                                           Exhibit 3

From: Martin, Jarrod B.
Sent: Thursday, September 8, 2022 3:46 PM
To: Avi Moshenberg <avi.moshenberg@mhllp.com>
Subject: FW: FSS/PQPR Discovery



Jarrod B. Martin
Shareholder

Direct: 713.356.1280
E‐Mail: jarrod.martin@chamberlainlaw.com

From: Martin, Jarrod B.
Sent: Tuesday, September 6, 2022 5:42 PM
To: Kyung S. Lee <klee@shannonleellp.com>; Ray Battaglia <rwbresolve@gmail.com>; Steve Lemon
<lemmon@slollp.com>; R. J. Shannon <rshannon@shannonleellp.com>
Cc: Avi Moshenberg <avi.moshenberg@mhllp.com>; Ryan Chapple <rchapple@cstrial.com>
Subject: RE: FSS/PQPR Discovery

All,

This is a follow up email on the request for a privilege log from FSS and PQPR. This is the 3rd email about the privilege
log.

I am also following up on the request for a meet and confer call with Steve on the PQPR discovery. This is the 2nd email
about the PQPR discovery responses.

I’d also like to get an update on the status of filing the protective order.

I would propose tomorrow after the 341 meeting for a call to discuss the privilege logs, the PQPR discovery responses,
and the protective order. Please let me know if this works.


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Jarrod B. Martin
Shareholder

Direct: 713.356.1280
E‐Mail: jarrod.martin@chamberlainlaw.com

From: Martin, Jarrod B.
Sent: Tuesday, September 6, 2022 10:06 AM
To: Kyung S. Lee <klee@shannonleellp.com>; Ray Battaglia <rwbresolve@gmail.com>; Steve Lemon
<lemmon@slollp.com>; R. J. Shannon <rshannon@shannonleellp.com>
Cc: Avi Moshenberg <avi.moshenberg@mhllp.com>; Ryan Chapple <rchapple@cstrial.com>
Subject: RE: FSS/PQPR Discovery

Also, I wanted to follow up on where we are at on the entry of the protective orders. I know we are signed off on the
form of order.

Jarrod B. Martin
Shareholder

Direct: 713.356.1280
E‐Mail: jarrod.martin@chamberlainlaw.com

From: Martin, Jarrod B. <Jarrod.Martin@chamberlainlaw.com>
Sent: Monday, September 5, 2022 6:52 PM
To: Kyung S. Lee <klee@shannonleellp.com>; Ray Battaglia <rwbresolve@gmail.com>; Steve Lemon
<lemmon@slollp.com>; R. J. Shannon <rshannon@shannonleellp.com>
Cc: Avi Moshenberg <avi.moshenberg@mhllp.com>; Ryan Chapple <rchapple@cstrial.com>
Subject: Re: FSS/PQPR Discovery

I hope everyone had a good holiday. I don’t expect a response today given the holiday, but I would appreciate a
response tomorrow. What's the timetable on a privilege log? Additionally, I'd like to set up a meet and confer
call with Steve regarding PQPR's discovery responses. Please let me know your schedule tomorrow so Avi,
myself and Ryan can get on a call with you. We believe the responses are deficient and if not amended, we'll tee
up something with Judge Lopez. Thanks.

Jarrod B. Martin
Shareholder
Chamberlain Hrdlicka
Mobile: 832.757.6949
E‐Mail: jarrod.martin@chamberlainlaw.com




From: Martin, Jarrod B. <Jarrod.Martin@chamberlainlaw.com>
Sent: Friday, September 2, 2022 8:49 AM
To: Kyung S. Lee <klee@shannonleellp.com>; Ray Battaglia <rwbresolve@gmail.com>; Steve Lemon
<lemmon@slollp.com>; R. J. Shannon <rshannon@shannonleellp.com>

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Cc: Avi Moshenberg <avi.moshenberg@mhllp.com>; Ryan Chapple <rchapple@cstrial.com>
Subject: FSS/PQPR Discovery

Hey all,

Can you provide an estimate on the timing for providing a privilege log? Ray, do you want to take the first pass
at the interim cash collateral order? Same terms, new budget, new final hearing date.

Going forward, I think we keep the email list limited to this group, adding in Melisssa as needed. Let me know
if you agree. Enjoy the holiday weekend if we don't talk before then.

Jarrod B. Martin
Shareholder
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